      Case 1:07-cv-11693-GAO      Document 29     Filed 01/08/08    Page 1 of 3



                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________
                                           )
PEDRO LOPEZ; ABEL CANO;                    )
KEVIN SLEDGE; CHARLES DEJESUS;             )
RICHARD BROOKS; ROBERT ALVAREZ,            )
MARISOL NOBREGA; SPENCER TATUM; THE        )
MASSACHUSETTS HISPANIC LAW                 )
ENFORCEMENT ASSOCIATION; INDIVIDUALLY      )
AND ON BEHALF OF A CLASS OF INDIVIDUALS    )
SIMILARLY SITUATED,                        )
           Plaintiffs                      )
                                           )
v.                                         )
                                           ) Case No. 07-CA-11693-JLT
CITY OF LAWRENCE, MASSACHUSETTS;           )
CITY OF METHUEN, MASSACHUSETTS;            )
COMMONWEALTH OF MASSACHUSETTS;             )
PAUL DIETL, IN HIS CAPACITY AS PERSONNEL )
ADMINISTRATOR FOR THE COMMONWEALTH         )
OF MASSACHUSETTS, HUMAN RESOURCES          )
DIVISION; JOHN MICHAEL SULLIVAN, IN HIS    )
CAPACITY AS MAYOR OF THE CITY OF           )
LAWRENCE, MASSACHUSETTS;                   )
WILLIAM MANZI, III, IN HIS CAPACITY AS     )
MAYOR OF CITY OF METHUEN,                  )
MASSACHUSETTS; CITY OF LOWELL,             )
MASSACHUSETTS; WILLIAM F. MARTIN, IN HIS   )
CAPACITY AS MAYOR OF THE CITY OF LOWELL, )
MASSACHUSETTS; CITY OF WORCESTER,          )
MASSACHUSETTS; and KONSTANTINA B. LUKES, )
IN HIS CAPACITY AS MAYOR OF THE CITY OF    )
WORCESTER, MASSACHUSETTS,                  )
            Defendants                     )
___________________________________________)


                PROPOSED ORDER ON DOCUMENT DISCOVERY

      The Court hereby orders that the following document/electronic discovery be

produced by defendant Commonwealth of Massachusetts:




                                         1
       Case 1:07-cv-11693-GAO        Document 29       Filed 01/08/08    Page 2 of 3



       1.     Documents (including electronic data) relating to any statistical analyses

performed in the last ten years regarding the scores on all civil service examinations for

the position of police sergeant which considered the grades or the scores (or any

components thereof) such as means and standard deviation for whites, blacks, and

Hispanics;

       2.     All adverse impact data analyses, reports, or memos for the police

sergeants examination which was held in the past ten years.

       3.     Copies of any and all analyses, reports, memos, computer printouts, or

other written or electronic materials that were prepared to evaluate the actual or

potential adverse impact of each police sergeants exam held in the last ten years (and

the component parts) that resulted in appointments to or promotions to sergeant in civil

service communities.

       4.     For each police sergeant’s exam in the past ten years, documents and

electronic data have the names and total score for each person who took the exam

(whether they passed or failed) with an indication of each person’s race or ethnic group,

or any special certification preference.

       5.     For each police sergeant’s exam in the past ten years all certification lists

provided to each civil service municipality and each document submitted to HRD by

such municipality indicating who was selected, along with any documents providing an

indication of each person’s race or ethnic group, score, and certification numbers.

       6.     All documents showing persons appointed as police sergeant in each civil

service community for the last ten years.




                                             2
          Case 1:07-cv-11693-GAO                  Document 29   Filed 01/08/08   Page 3 of 3



          7.        Documents showing all persons appointed as police sergeant in the past

ten years, broken down by municipality, with an indication of each person’s race and

ethic group.

          8.        Copies of all HRD memos, reports, analyses or written documents that

relate to the question of whether each sergeant exam held in the past ten years met the

4/5 rule as described in Section 4B of the UGESP.

          9.        Copies of all job analysis reports done by consultants before a sergeant

exam was held or after that are germane to the sergeant exams held by HRD in the

past ten years.

          10.       Copies of all test validation reports done by consultants before exams

were held or after that are germane to the sergeant exams held by HRD in the past ten

years.

          11.       Documents listing all civil service sergeants in each civil service

community in Massachusetts and all documents which indicate the race or ethnic

background of such sergeant, date of exam taken, and date of appointment.

          12.       Documents reflecting the names of all police officers in each civil service

community, all documents showing the race or ethnic background of such officer, and

showing whether the officer has taken a sergeant’s exam.



                                                     ____________________________________
                                                     Joseph L. Tauro
                                                     U.S. District Court

Dated: __________________

Cindy/legal/Harold/court order re doc discovery




                                                        3
